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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 18, 2018:


        MINUTE entry before the Honorable Gary Feinerman: Defendants' opposed
motion to extend the deadline to produce ESI pursuant to the MIDP standing order and
memorandum in support thereof [44] is granted. Because the court is likely to grant in
substantial part the motion to dismiss [37], the deadline for producing MIDP ESI is
continued generally and will be re−set at the appropriate juncture. The motion hearing set
for 12/20/2018 [45] is stricken. Mailed notice. (dal, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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